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                               Exhibit 36



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                                                                          Page 443
                  UNITED STATES DISTRICT COURT

                FOR THE DISTRICT OF MASSACHUSETTS

   - - - - - - - - - - - - - - -x

   IN RE:   PHARMACEUTICAL        :   MDL NO. 1456

   INDUSTRY AVERAGE WHOLESALE     :   CIVIL ACTION

   PRICE LITIGATION               :   01-CV-12257-PBS

   THIS DOCUMENT RELATES TO       :   U.S. ex rel.

   Ven-a-Care of The Florida      :   Judge Patti B. Saris

   Keys, Inc.                     :

       v.                         :

   Abbott Laboratories, Inc.,     :   Chief Magistrate

   No. 06-CV-11337-PBS            :   Judge Marianne B.

   - - - - - - - - - - - - - - -x     Bowler




                THOMAS A. SCULLY - VOLUME II

                        JULY 13, 2007

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     (CAPTION CONTINUED)




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                                                                         Page 444
 1                        IN THE CIRCUIT COURT OF
 2                      MONTGOMERY COUNTY, ALABAMA
 3   - - - - - - - - - - - - - - -x
 4   STATE OF ALABAMA,                       :
 5             Plaintiff,                    :
 6       v.                                  :    Case No.: CV-05-219
 7   ABBOTT LABORATORIES, INC.,              :    Judge Charles Price
 8   Et al.                                  :
 9             Defendants.                   :
10   - - - - - - - - - - - - - - -x
11    STATE OF WISCONSIN              CIRCUIT COURT             DANE COUNTY
12   -----------------------------x
13   STATE OF WISCONSIN,                     :    CASE NO.
14             Plaintiff,                    :    04-CV-1709
15       v.                                  :
16   AMGEN INC., et al.,                     :
17             Defendants.                   :
18   -----------------------------x
19

20

21

22




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                                                               15199ddc-fb97-46a6-9907-a9804764b3c3
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                                                                         Page 572
 1
     that?
 2
                   MR. ESCOBAR:          Yes.
 3
                   MR. GOBENA:          You might want to pass out
 4
     a copy of that to us, first.
 5
                   MR. ESCOBAR:          Table's too wide, I can't
 6
     throw it that far.
 7
                   MR. GOBENA:          I'm sure you can, Bill.
 8
     BY MR. ESCOBAR:
 9
           Q.      I'm showing you what has been marked as
10
     Exhibit Dey 024, and this is a listing, comes
11
     from the National Pharmaceutical Counsel, and
12
     it's dated 2002, that lays out reimbursement
13
     mechanisms set up in each state that were in
14
     effect in 2002.
15
                   And, as you look at this, this is one
16
     of the things you were referring to a moment ago,
17
     that each state sets up its own Medicaid program,
18
     including its own reimbursement methodology;
19
     right?
20
           A.      Yes.
21
           Q.      But each state's reimbursement
22
     methodology is something that has to be included

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                                                                         Page 573
 1
     in a state plan that's submitted to CMS for
 2
     approval whenever it's done; right?
 3
           A.      Yes.
 4
           Q.      And to the extent a state decides to
 5
     change its reimbursement methodology you know
 6
     that that's done through a state plan amendment;
 7
     correct?
 8
           A.      Yes.
 9
           Q.      And CMS has to approve each state's
10
     reimbursement methodology; right?
11
           A.      Yes.
12
           Q.      And to the extent CMS did not want to
13
     approve a state's reimbursement methodology CMS
14
     had the authority to reject it; right?
15
                   MR. NEAL:        I'll object to the form. You
16
     can answer.
17
           A.      Yes.
18
           Q.      So, for purposes of all these cases, as
19
     far as you're concerned, telling this to the
20
     jurors, every state reimbursement methodology was
21
     approved by CMS at some point; right?
22
           A.      In theory, but the CMS actually -- I

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